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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA

                                               Alexandria Division

UNITED STATES OF AMERICA                                  )
                                                          )
               v.                                         )    No. 1:19-cr-57 (LO)
                                                          )
SPENCER PAK                                               )


                     POSITION OF THE UNITED STATES ON SENTENCING

         The United States, through counsel, hereby submits its position on sentencing, currently

scheduled for January 12, 2021. As discussed below, we ask that the Court sentence the

defendant to a term of imprisonment of 60 months on Count 1 of the Criminal Information, 60

months concurrent on Count 15 of the Third Superseding Indictment, and 60 months consecutive

on Count 18 of the Third Superseding Indictment, for a total sentence of 120 months.

         I.         Background

         The defendant, Spencer Pak, was a member of the Reccless Tigers, a violent street gang

in Northern Virginia.1 The Presentence Report describes in detail the gang’s history, narcotics

trafficking, and acts of violence, as well as the various roles of the defendants in this case (Dkt.

509 at ¶¶ 42-116). The Fourth Superseding Indictment similarly describes the history and

structure of the gang and its decade-long pattern of racketeering activity, including numerous

acts of violence, narcotics trafficking, money laundering, obstruction of justice, and other

offenses (see United States v. Peter Le et al., No. 1:19-cr-57 (LO) at Dkt. 439).

         Spencer Pak was born and raised in Northern Virginia. He attended local public schools,

graduating from high school in 2014 (Dkt. 509, ¶ 164). He has taken college-level courses at


1
 As used here, the Reccless Tigers includes the Reccless Tigers and its affiliated entities of Club Tiger, Tiger Side,
Lady Ts, and the Asian Boyz, and those, like the defendant, associated with them.
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Northern Virginia Community College.

         Spencer Pak’s older brother, Richard Pak, was the leader of several gangs in the

Centreville area which eventually evolved into the Reccless Tigers. Richard Pak also

distributed marijuana and other controlled substances locally. While in middle school, Spencer

Pak, along with several friends, obtained marijuana from Richard Pak, which they then

distributed. At first, Spencer Pak distributed quarter and half-ounce quantities weekly, but

eventually he sold half-pound to pound quantities of marijuana. The marijuana was broken

down and packaged in the basement of the Pak residence, where Richard Pak gave Spencer and

others marijuana for sale. It was also the preferred location to hang out and smoke marijuana.

         Spencer Pak’s marijuana sales increased steadily following his graduation from high

school. Spencer Pak frequently sold marijuana at “pop-up” events in Washington, D.C., as well

as at Airbnb properties rented by gang members.2 During this time, Spencer Pak also had access

to other controlled substances through his older brother, including ecstasy, Xanax, and THC

products (edibles and vape pens). Their marijuana and THC products were shipped to Northern

Virginia from California. They were getting their cocaine from Kyu Hong, another member of

the gang. In about 2015, Spencer Pak was “blessed” rather than “jumped” into the Reccless

Tigers, as Richard Pak was one of the leaders of the gang.

         The events that led to Spencer Pak’s arrest began with the sale of cocaine to a police

informant in August 2017. After distributing cocaine to the informant on three occasions,

Spencer Pak began selling cocaine to an undercover officer. Between August 30, 2017, and

September 25, 2018, Spencer Pak conducted eight cocaine deals with the undercover officer.

The total amount of cocaine distributed was 713 grams (Dkt. 509, ¶¶ 91-101). All of the


2
  While the District of Columbia’s marijuana statute allows for possession of small quantities of marijuana, it is not
legal to sell marijuana in the District. See D.C. Code § 48-904.01.



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cocaine distributed to the undercover officer was obtained by Richard Pak from Kyu Hong.

       II.     Sentencing Guidelines

       The defendant’s offense level for Count 1 of the Criminal Information and Count 15 of

the indictment (which are grouped offenses) is a level 26 based on the stipulated drug quantity of

400 to 700 kilograms of converted drug weight. After a three-level reduction for acceptance of

responsibility and the defendant’s timely plea, the resulting offense level is a level 23. The

defendant’s guideline range, with a Criminal History of I, would have been 46 to 57 months, but,

because of the mandatory minimum sentence for Count 1, his restricted guideline range is 60

months.

       We note that the defendant could have received a two-level increase in his offense level

under U.S.S.G. §2D1.1(b)(12) for maintaining a premises for the purpose of distributing a

controlled substance. The Probation Office applied this enhancement to Richard Pak for using

the family residence to receive packages of marijuana and to repackage and distribute marijuana

and other controlled substances to others from the residence, and this enhancement could apply

to Spencer Pak as well. Given, however, that Richard Pak was the older brother (by six years)

and the gang leader, the government is not asking the Court to apply the enhancement to Spencer

Pak. Moreover, even if applied, it would not materially alter the defendant’s guideline range

(i.e., it would be 60 to 71 months rather than 60 months).

       The defendant’s recommended guideline sentence for Count 18 is the statutory

consecutive sentence of 60 months, and no upward departure is warranted. See U.S.S.G. §

2K2.4 (b) and Application Note 2(B) to that subsection.




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    III.        The 18 U.S.C. § 3553 Factors

       The defendant faces statutory penalties of no less than 120 months imprisonment. The

United States submits that a total sentence of 120 months nevertheless is consistent with the

factors articulated in 18 U.S.C. § 3553, which the Court must take into account when imposing

its sentence.

                A.     The § 3553(a)(1) Factors

       Under § 3553(a)(1), the Court must consider the nature and circumstances of the offense

and characteristics of the defendant. The Presentence Report fairly describes the offense of

conviction, applicable relevant conduct, and the defendant’s family background and personal

history, including his criminal history.

                       1.      The Nature and Circumstances of the Offense

       The Court is familiar with the government’s investigation and prosecution of the Reccless

Tigers and those associated with the gang. The gang’s drug trafficking was extensive,

generating millions of dollars in drug proceeds. Members of the gang distributed marijuana,

THC products, cocaine, prescription drugs, ecstasy, and LSD, primarily in Northern Virginia but

also in Richmond and other locations. The gang sold its products to middle school, high school,

and college students, using social media platforms to market its “brand.” Guns were a big part

of the gang’s image, and gang members armed themselves with handguns, shotguns, and assault

rifles as reflected in hundreds of videos and photographs posted on their social media accounts.

As the gang’s drug networks grew, so did its violence. Those who owed the gang money or

offended the gang in some way were threatened, beat up, robbed, firebombed, stabbed, and

murdered.

       Spencer Pak was a gang member who sold substantial quantities of controlled substances




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obtained through the gang. He was not shy about his gang affiliation, as he made obvious on his

social media accounts. He was present at, and participated in, many of the gang’s functions.

                       2.      The History and Characteristics of the Defendant

       As noted, the defendant was born and raised in Northern Virginia. He graduated from

high school and has attended college. His home life and upbringing are set forth in the PSR

(Dkt. 509, ¶¶ 147-153). Prior to his arrest in 2019, the defendant used marijuana daily for

almost a decade.

               B.      The § 3553(a)(2) Factors

       Under § 3553(a)(2), the Court must also consider whether a total sentence of 120 months

satisfies four additional factors. First, as discussed above, a sentence within this range would

certainly reflect the seriousness of the offense, promote respect for the law, and provide just

punishment for the offense.

       Second, a sentence within this range would serve to deter others from committing the

same or similar offenses. At the local level, offenses tied to gang activity often result in little or

no jail time. Without meaningful sentences, criminal organizations such as the Reccless Tigers

will continue to flourish.

       Third, a sentence of imprisonment within this range will protect the public from any

further crimes by this defendant.

       Finally, a sentence within this range may provide the defendant with needed educational

or vocational training and any medical or psychological treatment. He may be well served by

the educational opportunities afforded by BOP.




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       C.      The § 3553(a)(6) Factor

       Under 18 U.S.C. § 3553(a)(4) and (5), the Court must consider the kinds of sentence and

the sentencing range established for the offense under the sentencing guidelines. Under 18

U.S.C. § 3553(a)(6), the Court must consider the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct. The

following chart lists the sentences for each of the defendants sentenced previously by the Court:



            Defendant                        Sentence

 Kevin Aagesen                    188 months

 Fahad Abdulkadir                 192 months

 Zu Hun Chang                     42 months

 Tasneef Chowdhury                121 months

 Angel Le                         42 months

 Tyler Le                         135 months

 Soung Park                       132 months

 Abdullah Abdow Sayf              180 months

 Brandon Sobotta                  7 months

 Tyler Sonesamay                  120 months



       Three defendants in this case have pled guilty to having conspired to abduct Brandon

White – Abdullah Sayf, Fahad Abdulkadir, and Kevin Aagesen. They received sentences

between 180 and 192 months. One defendant, Brandon Sobotta, participated in one drug

transaction, and was sentenced to 7 months. One other defendant, Zu Chang, was arrested by



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Fairfax County police in a separate case for possession with intent to distribute drugs, and he was

sentenced to 42 months. Angel Le was the girlfriend of Peter Le, whose primary role was in

leasing apartments for Peter Le and collecting and depositing drug proceeds for the gang. She

was sentenced to 42 months. The other four defendants, Tasneef Chowdhury, Tyler Le, Soung

Park, and Tyler Sonesamay, were sentenced between 120 and 135 months. All four were active

gang members and involved in drug trafficking and gang violence. Spencer Pak is comparable

to these defendants in that he too was an active gang member, was involved in drug trafficking,

possessed numerous firearms, and participated in gang violence.

    IV.          Response to the Defendant’s Objections

       In his sentencing memorandum and written objections to the Presentence Report, defense

counsel asks the Court to disregard much of the description of the offense conduct in the report,

primarily on the grounds that Spencer Pak had “nothing to do” with what was described.

       Spencer Pak was a member of a violent street gang and drug conspiracy. As such, he is

responsible for the acts of his fellow gang members and co-conspirators, whether he was directly

involved in those acts or even knowledgeable about them. But the fact is, he was involved in

much of the conduct of this criminal enterprise and very much aware of what his co-conspirators

had done. For example, counsel attempts to downplay Spencer Pak’s possession of a firearm,

saying that it was simply the result of posing with a firearm and posting it on social media.

Spencer Pak possessed numerous firearms, including assault rifles, revolvers, and semi-

automatic pistols. He posted dozens of photographs of these firearms on social media together

with drugs and large amounts of cash. He sold assault rifles and other firearms to his fellow

gang members. He was present when the Reccless Tigers fought with other gangs and shots

were exchanged. He told co-conspirators that he needed firearms to protect himself, knowing




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that drug dealers are frequently the target of robberies. In an incident on March 11, 2015,

captured on video, Spencer Pak directed Mateo Marcos Eguez to shoot an individual who owed

Pak money for drugs. After confronting the victim at a basketball court, Spencer Pak, Mateo

Eguez, and three others chased the individual down an alley-way. Mateo shot at the individual,

but, fortunately, missed.3 Spencer Pak also threatened the bystanders who had witnessed and

recorded the incident.

         Counsel also claims that Spencer Pak is deserving of a minor role adjustment. Spencer

Pak was not a minor participant, i.e., a defendant who is substantially less culpable than the

average participant in the criminal activity. U.S.S.G. § 3B1.2, Application Note 3. Spencer

Pak distributed tens of thousands of dollars of controlled substances. He was a respected

member of the gang. He was, at the very least, an average participant, if not more than that.

No role adjustment is warranted.4




3
  Mateo Eguez was arrested by FCPD and pled guilty to felony attempted malicious wounding on September 2,
2015. Criminal No. FE 2015-771. Defense counsel has been given a DVD recording of this incident.

4
  A role adjustment would not affect the defendant’s sentence, as he would still have a restricted guideline range of
60 months.



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                                           Conclusion

       For these reasons, and for the reasons set forth in the Presentence Report, we ask that the

Court sentence the defendant to 60 months imprisonment on Count 1 of the Criminal

Information; 60 months imprisonment on Count 15 of the Third Superseding Indictment, to be

served concurrently to the sentence imposed on Count 1 of the Criminal Information; and 60

months on Count 18 of the Third Superseding Indictment, to be served consecutively to any

other criminal sentence.



                                             Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 8th day of January, 2020, I filed the foregoing pleading with

the Clerk of Court using the Court’s electronic filing system, which will serve all counsel of

record.


                                         By:                  /s/
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